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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



AARON GREENSPAN,

        Plaintiff,

   v.
                                                           Case No.: 1:23-cv-10134-DJC
DIEGO MASMARQUES, JR. a/k/a DIEGO
MAS HOWARD a/k/a RICKY MAS MARQUES
a/k/a JACK JONES, SERGEI IGOREVICH
KUDRIAVTSEV, MEDIOLEX, LTD., and
ASTRAD, LTD.,

        Defendants.


         PLAINTIFF’S MOTION FOR LEAVE TO FILE MOTION TO COMPEL


        This lawsuit has now been pending for nearly eight hundred (800) days with virtually no

forward progress. Defendant Diego MasMarques, Jr. has sought to manufacture delays at every

possible juncture for every conceivable reason. He has exploited this delay to lash out at

Plaintiff outside of the courtroom, compounding the harm being litigated. He has filed

perjurious declarations and numerous screeds in violation of the Federal Rules of Civil

Procedure, which have been struck from the record. He has cycled through two attorneys, the

former of whom lasted for eight (8) days, and the latter of whom lasted for four (4). More than

once, he has invented fake legal cases and cited them—itself a sanctionable offense. Now,

manufacturing further delay, Defendant MasMarques refuses to provide initial disclosures and

refuses to respond to Plaintiff’s extremely basic discovery requests. Plaintiff should be entitled

to file a motion to compel, and should be entitled to do so without the hindrance of a baseless




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pre-filing injunction (see ECF Nos. 78, 119) that should have been targeted only at Defendant

MasMarques from the start.

       Defendant MasMarques refused to serve his initial disclosures under Federal Rule of

Civil Procedure 26 when he represented himself, and then failed to do so again when he hired

counsel a second time. His most recent counsel did promise on February 27, 2025, however, “I

will prepare a response to your request for documents.” This never happened. The responses to

Plaintiff’s ten (10) basic requests for document production were due 30 days after service. Since

service was effective on February 12, 2025, the deadline for the responses was March 14, 2025.

       Plaintiff e-mailed Defendant MasMarques on March 15, 2025 to remind him that his

discovery responses were due the day before. Defendant MasMarques did not reply. He did,

however, repeatedly take to Twitter using yet another fake account with further libelous

statements to encourage the Director of the Federal Bureau of Investigation, the United States

Department of Justice, Elon Musk, and the United States Department of Homeland Security to

arrest Plaintiff. For example:




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If he had time to write these posts, he had time to respond to discovery.

       Defendant MasMarques has ignored this Court’s Orders since he first appeared in this

action. There is still no proper Answer to the First Amended Complaint on file; the Court has

made it Plaintiff’s burden to attempt to piece one together, even though the paragraph numbers

and claims do not and cannot match. Defendant MasMarques—whose social media accounts

reveal that he is, in addition to being a criminal, a traitor who enthusiastically supports Elon

Musk and Vladimir Putin—fundamentally does not believe in the rule of law. Therefore, at the

very least, an Order to compel production of initial disclosures and the documents Plaintiff has

requested is merited. Plaintiff should be permitted to file a motion seeking one.



Dated: March 19, 2025                  Respectfully submitted,




                                       Aaron Greenspan, pro se
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            CERTIFICATION PURSUANT TO CIVIL LOCAL RULE 7.1(a)(2)

       I certify that on March 18, 2025, I attempted to confer with Defendant Diego

MasMarques, Jr. in regard to this motion in a good faith effort to resolve this issue and/or to

narrow the issues. Defendant MasMarques refused to respond.




                                       Aaron Greenspan




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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 19, 2025 I filed the foregoing with the Clerk of Court

using the CM/ECF system to the following defendants in this action:

Diego MasMarques, Jr.
Mediolex, Ltd.
Astrad, Ltd.
Sergei Igorevich Kudriavtsev




                                     Aaron Greenspan
